     Case 1:25-cv-00103-JRH-BKE            Document 3       Filed 05/02/25      Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF GEORGIA



                             RULE 26 INSTRUCTION ORDER

       In a case originally filed in this district, the parties shall confer as provided in Federal

Rule of Civil Procedure 26(f) by the earlier of sixty days after any defendant has been served

with the complaint or forty-five days after any defendant has appeared. L.R. 26.1(a). 1 In

removed cases, the parties shall confer within twenty-one days from the later of the date of

removal or filing of the last answer, but in no event later than forty-five days after first

appearance by answer or Rule 12 motion of any defendant named in the original complaint.

L.R. 26.1(e). In cases transferred from another district, the parties shall confer within

twenty-one days of the case docketing in this district. L.R. 26.1(f).

       Within fourteen days after the Rule 26(f) conference, the parties shall complete and

file the attached Rule 26(f) report. L.R. 26.1(b). A copy of this form in fillable format can be

found by following this link: https://www.gasd.uscourts.gov/sites/gasd/files/rule26f.pdf. A

party who cannot gain the cooperation of the other party in preparing the report should

advise the Court prior to the filing deadline.

       SO ORDERED.




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           The Local Rules may be found on the Court’s website at www.gasd.uscourts.gov.
     Case 1:25-cv-00103-JRH-BKE                  Document 3          Filed 05/02/25         Page 2 of 7




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Case 1:25-cv-00103-JRH-BKE                  Document 3          Filed 05/02/25         Page 7 of 7




 WKHSRVVLELOLWLHVIRUSURPSWVHWWOHPHQWRUUHVROXWLRQRIWKHFDVH
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